          Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 1 of 18




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

LINDSAY O’BRIEN QUARRIE,

           Plaintiff,

v.                                                       Civ. No. 17‐350 MV/GBW

STEPHEN WELLS, et al.,

           Defendants.



                  ORDER GRANTING IN PART AND DENYING IN PART
                 DEFENDANT NMT’S MOTION FOR PROTECTIVE ORDER

           THIS MATTER comes before the Court on Defendant NMT’s Motion for

Protective Order to Plaintiff’s Notice to Take Deposition Pursuant to Fed. R. Civ. P.

30(b)(6) and Notice of Non‐Appearance. Doc. 348. Having read the Motion and

Plaintiff’s Response (doc. 357), the Court will GRANT IN PART and DENY IN PART the

Motion.


     I.       BACKGROUND

           On June 10, 2020, Plaintiff notified Defendant New Mexico Institute of Mining

and Technology (“NMT”) of his intention to conduct a 30(b)(6) deposition on twenty‐

four separate topics. Doc. 348‐2 at 4–6. On June 19, 2020, Defendant NMT advised

Plaintiff that it objected to Plaintiff’s proposed topics as overly broad and requested that

Plaintiff revise the list. Id. at 4. On July 7, 2020, Plaintiff served a notice and subpoena
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 2 of 18




on Defendant NMT for a deposition to proceed on July 30, 2020 on all the topics

Plaintiff originally proposed. Doc. 348‐1. These topics are as follows:

      1) Plaintiff’s intentional racial discrimination claim under Title VI against
          Defendant NMT et al (Count I in his Third Amended Complaint) and
          Plaintiff’s request for injunctive relief under Ex parte Young (Count II of
          his Third Amended Complaint.
      2) Previously unlitigated and undetermined issue of whether or not
          Plaintiff was afforded due process when terminated from the PhD
          program at NMT in spring of 2012.
      3) Plaintiff’s NMT academic transcript.
      4) The contents of Plaintiff’s academic and administrative files at NMT.
      5) Plaintiff’s PhD coursework and transfer credits at NMT.
      6) The approval of Plaintiff’s dissertation credits at NMT.
      7) The passage of Plaintiff’s qualifying examinations at NMT.
      8) Plaintiff’s dissertation research, independent study, and research
          articles at NMT.
      9) The April 27, 2012 termination letter from Lorie Liebrock to Plaintiff.
      10) The appeal of Plaintiff’s 2012 termination from NMT.
      11) The mediation between Plaintiff and NMT in the summer of 2012.
      12) Plaintiff’s 2013 federal lawsuit against NMT.
      13) The previously unlitigated and undetermined issue of whether or not
          NMT met the conditions precedent and contractual requirements of
          the 2015 Settlement Agreement and Mutual Release between Plaintiff
          et [sic] NMT et al.
      14) The addition of the phrase ‘No Degree Earned’ to Plaintiff’s academic
          transcript.
      15) The previously unlitigated and undetermined issue of whether or not
          the Settlement Agreement was void ab initio due to its violation of
          public policy by racially discriminating against Plaintiff.
      16) Plaintiff’s applications for readmission to the PhD program at NMT in
          June, August, and December of 2016.
      17) The June 28, 2016 meeting between New Mexico State Representative
          Sheryl Stapleton and former President Daniel Lopez of NMT.
      18) The August 19, 2016 meeting between NM State Rep. Stapleton and
          President Stephen Wells of NMT.
      19) President Wells’ September 13, 2016 letter to NM State Rep. Stapleton.
      20) Plaintiff’s $45 application processing fee paid to NMT in December of
          2016.

                                             2
        Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 3 of 18




          21) Plaintiff’s reimbursement of the $6,000 payment received as part of the
              Settlement Agreement.
          22) Plaintiff’s 2017 federal lawsuit against NMT.
          23) The transfer or removal of documents from Plaintiff’s academic and
              administrative files at NMT between October 8, 2015 and the present.
          24) The spoliation of Plaintiff’s academic and administrative files at NMT.

Doc. 348 at 3–4.

          On July 20, 2020, Defendant NMT again objected to Topics 1, 2, 11–13, 15, 22, and

24 but designated representatives to testify on Topics 3–10, 14, 16, 18–21, and 23.1 Doc.

348‐3 at 1. Defendant NMT noted that its designees for Topics 3, 4, and 16 were subject

to clarification from Plaintiff concerning the scope. Id. Defendant NMT also proposed

that the 30(b)(6) depositions be conducted at the same time as the previously scheduled

depositions of its designees. Id. Plaintiff evidently did not respond to the request for

clarification of the scope of Topics 3, 4, or 16. Doc. 348 at 6. On July 23, 2020, Plaintiff

took the depositions of Stephen Wells and Lorie Liebrock but refused to depose them

on the topics on which Defendant NMT designated them to speak. Doc. 348‐4 at 1.

          Defendant NMT advised Plaintiff that it intended to proceed with a Motion for

Protective Order. Id. Upon the filing of this Motion, Plaintiff cancelled the previously

scheduled 30(b)(6) deposition. Doc. 357 at 4. Plaintiff filed a response to this Motion on

August 6, 2020. Doc. 357. Pursuant to Local Rule 7.4(a), Defendant NMT’s reply (if any)

was due August 20, 2020; none was filed.




1   Defendant NMT also stated that it had no corporate representative possessing information on Topic 17.

                                                     3
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 4 of 18




   II.      LEGAL STANDARDS

         A. Scope of Discovery

         The Federal Rules of Civil Procedure provide:

         Parties may obtain discovery regarding any nonprivileged matter that is relevant
         to any party’s claim or defense and proportional to the needs of the case,
         considering the importance of the issues at stake in the action, the amount in
         controversy, the parties’ relative access to relevant information, the parties’
         resources, the importance of the discovery in resolving the issues, and whether
         the burden or expense of the proposed discovery outweighs its likely benefit.

Fed. R. Civ. P. 26(b)(1). Evidence is relevant if it has any tendency to make a material

fact more or less probable. Fed. R. Evid. 401. Information “need not be admissible in

evidence to be discoverable.” Fed. R. Civ. P. 26(b)(1). However, “Rule 26 vests the trial

judge with broad discretion to tailor discovery narrowly.” Murphy v. Deloitte & Touche

Group Ins. Plan, 619 F.3d 1151, 1163 (10th Cir. 2010) (quoting Crawford‐El v. Britton, 523

U.S. 574, 598 (1998)). The Court, on a motion or sua sponte, “must limit the frequency or

extent of discovery” beyond the scope permitted by Rule 26(b)(1). Fed. R. Civ. P.

26(b)(2)(C)(iii).

         B. Rule 30(b)(6)

         Federal Rule of Civil Procedure 30(b)(6) authorizes a party to depose a

corporation by its representatives. It provides:

         In its notice or subpoena, a party may name as the deponent a public or
         private corporation, a partnership, an association, a governmental agency,
         or other entity and must describe with reasonable particularity the matters
         for examination. The named organization must then designate one or
         more officers, directors, or managing agents, or designate other persons

                                              4
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 5 of 18




       who consent to testify on its behalf; and it may set out the matters on
       which each person designated will testify. . . . The persons designated
       must testify about information known or reasonably available to the
       organization.

Id. The requirement of “reasonable particularity” in stating the topics for deposition

ensures that the entity to be deposed is not faced with an “impossible task” in preparing

its representatives. McBride v. Medicalodges, Inc., 250 F.R.D. 581, 584 (D. Kan. 2008).

       Federal Rule of Civil Procedure 26(c) permits the Court, with good cause, to issue

an order to “protect a party or person from annoyance, embarrassment, oppression, or

undue burden or expense.” Fed. R. Civ. P. 26(c)(1). “Issuing a protective order is

required when the party seeking discovery attempts to obtain information outside the

scope of discovery.” United States v. All Assets Held at Bank Julius Baer & Co., Ltd., 202 F.

Supp. 3d 1, 6 (D.D.C. 2016) (citing Fed. R. Civ. P. 26(b)(2)(C)(iii)). The Court may issue a

protective order to limit the topics of a deposition conducted pursuant to Rule 30(b)(6).

See, e.g., Bhasker v. Fin. Indem. Co., 2018 WL 4773363 (D.N.M. Oct. 3, 2018) (unpublished).

The burden is on the moving party to demonstrate good cause for the requested

protective order. Benavidez v. Sandia Nat’l Labs., 319 F.R.D. 696, 721 (D.N.M. 2017)

(citations omitted). See also Gulf Oil Co. v. Bernard, 452 U.S. 89, 102 n.16 (1981).

       C. Attorney‐Client Privilege and Legal Opinions

       The attorney‐client privilege “protects confidential communications by a client to

an attorney made in order to obtain legal assistance from the attorney in his capacity as

a legal advisor.” In re Grand Jury Proceedings, 616 F.3d 1172, 1182 (10th Cir. 2010)

                                               5
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 6 of 18




(citation and internal quotation marks omitted). Operating in the other direction, the

privilege “protect[s] at least those attorney to client communications which would have

a tendency to reveal the confidences of the client.” Id. (quoting Kenneth S. Brown,

McCormick on Evidence § 89 (6th ed. 2006)). Courts have also protected attorney‐to‐client

communications that “constitute legal advice.” Id. (quoting United States v. Defazio, 899

F.2d 626, 635 (7th Cir. 1990)); see also Lluberes v. Uncommon Prods., LLC, 663 F.3d 6, 24 (1st

Cir. 2011) (extending the privilege to communications of “legal advice based on . . .

client confidences”). The attorney‐client privilege must be “strictly construed,” Trammel

v. United States, 445 U.S. 40, 50 (1980), and the burden of establishing its applicability

“rests on the party seeking to assert it.” In re Grand Jury Proceedings, 616 F.3d at 1183

(quoting In re Grand Jury Subpoena Subpoena Duces Tecum Issued on June 9, 1982, 697 F.2d

277, 279 (10th Cir. 1983)).

       Attorney work product is similarly protected. The work‐product doctrine “only

prevents disclosure of information that was prepared by the attorney in anticipation of

litigation or for trial.” Id. at 1184 (citing Grand Jury Proceedings v. United States, 156 F.3d

1038, 1042 (10th Cir. 1998)). The doctrine “only applies to attorneys’ or legal

representatives’ mental impressions, conclusions, opinions, or legal theories authored in

anticipation of litigation.” Grace United Methodist Church v. City of Cheyenne, 451 F.3d

643, 668 (10th Cir. 2006)). As with attorney‐client privilege, “[t]he party asserting a

work product privilege as a bar to discovery must prove the doctrine is applicable.”


                                               6
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 7 of 18




Resolution Trust Corp. v. Dabney, 73 F.3d 262, 266 (10th Cir. 1995). Attorney‐client

privilege and work‐product protection must be established as to “specific questions or

documents, not by making a blanket claim.” Forest v. Hill (In re Foster), 188 F.3d 1259,

1264 (10th Cir. 1999) (citation omitted).

          Related to the work‐product doctrine is the rule that a party may not use a

deposition to inquire into the opposing party’s legal opinions. Schyvincht v. Menard,

Inc., 2019 WL 3002961, at *2 (N.D. Ill. July 10, 2019) (unpublished) (“Questions seeking a

legal conclusion from a lay person exceed the permissible scope of a Rule 30(b)(6)

deposition.”); Olsen‐Ivie v. K‐Mart, 2018 U.S. Dist. LEXIS 24194, at *3 (D. Utah Feb. 12,

2018) (unpublished) (prohibiting plaintiffs from asking questions “intended to elicit

Kmart’s legal opinion or analysis of claims or defenses”). Although inquiries into a

party’s “mental impressions, conclusions, opinions, and legal theory” are generally

beyond the scope of a 30(b)(6) deposition, inquiries into the facts underlying a party’s

legal opinions and theories may be permitted. Radian Asset Assurance, Inc. v. Coll. of

Christian Bros. of N.M., 273 F.R.D. 689, 691 (D.N.M. 2011) (quoting JPMorgan Chase Bank

v. Liberty Mut. Ins. Co., 209 F.R.D. 361, 362 (S.D.N.Y. 2002)).


   III.      ANALYSIS

          Defendant NMT seeks a protective order prohibiting the 30(b)(6) deposition on

Topics 1, 2, 11, 12, 13, 15, 22, and 24. Doc. 348 at 4–6. Topics 1, 11, 12, and 22 relate to

specific legal proceedings. Topics 2, 13, 15, and 24 relate to specific legal contentions

                                               7
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 8 of 18




advanced by Plaintiff. Additionally, Defendant NMT seeks a protective order either

prohibiting or limiting the deposition on Topics 3, 4, and 16. Id. at 6. Finally, Defendant

NMT seeks a protective order limiting the deposition “to a mutually convenient time

for counsel and the witnesses.” Id. at 8.

       A. Topics 1, 11, 12, and 22

       The following topics relate to specific proceedings between Plaintiff and

Defendant NMT:

       1)      Plaintiff’s intentional racial discrimination claim under Title VI
       against Defendant NMT et al (Count I in his Third Amended Complaint)
       and Plaintiff’s request for injunctive relief under Ex parte Young (Count II
       of his Third Amended Complaint.
       [. . .]
       11)     The mediation between Plaintiff and NMT in the summer of 2012.
       12)     Plaintiff’s 2013 federal lawsuit against NMT.
       [. . .]
       22)     Plaintiff’s 2017 federal lawsuit against NMT.

Doc. 348 at 3–4. Defendant NMT objects to these topics as overly broad, vague, and

seeking legal opinions and/or information protected by attorney‐client privilege. With

respect to the last objection, Defendant argues, “Any factual information known to a

designated NMT witness about the mediation or the lawsuits would be information

learned exclusively through communications with counsel.” Doc. 348 at 5.

       Attorney‐client privilege protects communications between clients and their

counsel, but it does not shield “the underlying information contained in the

communication.” In re Six Grand Jury Witnesses, 979 F.2d 939, 944 (2d Cir. 1992).


                                             8
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 9 of 18




Discovery of “the underlying facts of a communication depends on its nature, rather

than its source.” Henry v. Champlain Enters., 212 F.R.D. 73, 91 (N.D.N.Y. 2003) (citation

omitted). Clients’ confidences are protected, as is an attorney’s legal advice based on

those confidences. In re Grand Jury Proceedings, 616 F.3d at 1182. Similarly, the work‐

product doctrine protects documents prepared by counsel in anticipation of litigation,

but it “is not broad enough to prohibit all inquiry regarding information received from

working with counsel.” Dunkin’ Donuts Inc. v. Mary’s Donuts, Inc., 206 F.R.D. 518, 520

(S.D. Fla. 2002). Moreover, objections of attorney‐client privilege and/or work‐product

protection are generally insufficient to prevent deposition on an entire topic. “Courts

addressing this issue have generally declined to uphold attorney‐client and work‐

product objections to topics set out in Rule 30(b)(6) notices unless the requested topics,

on their face, call for testimony invading the attorney‐client privilege or attorney work

product doctrine.” McBride, 250 F.R.D. at 587.

       Plaintiff’s topics do not, on their face, seek privileged communications. Rather,

they seek information about specific proceedings between Plaintiff and Defendant

NMT. Information cannot be shielded from disclosure merely because it was learned

through communications with an attorney. The information must reveal the client’s

confidences or the attorney’s legal advice to be protected. If, in the course of a

deposition, Plaintiff asks questions that invade on the attorney‐client privilege,




                                             9
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 10 of 18




Defendant NMT may raise an objection at that time. Defendant NMT’s blanket

objection of privilege is OVERRULED.

       Topics 1, 11, 12, and 22 also do not, on their face, seek legal opinions. As the

Court reads them, these topics seek facts related to the specified proceedings. Inquiries

into “facts underlying legal claims and theories” are permissible. Radian Asset

Assurance, 273 F.R.D. 689 at 691. Moreover, “while objections based on attorney‐client

privilege or calling for a legal conclusion can certainly be raised during the Rule 30(b)(6)

deposition, such objections do not constitute good cause to enter a protective order

preventing a Rule 30(b)(6) deposition.” P.S. v. Farm, Inc., 2009 WL 483236, at *11 (D.

Kan. Feb. 24, 2009) (unpublished). Defendant NMT’s objection that Topics 1, 11, 12, and

22 seek legal opinions is OVERRULED.

       Defendant NMT’s objections of overbreadth and vagueness are more persuasive.

Plaintiff himself describes these topics as “broader in scope” but insists that they are

proper topics for a 30(b)(6) deposition. Doc. 357 at 8. The breadth of Topics 1 and 22 is

obvious. They address nothing less than the entirety of the present case. Topics 1 and

22 are also vague to the point of meaninglessness. Any relevant subject on which

Plaintiff could depose a witness must bear some relation to Counts I and II of Plaintiff’s

Third Amended Complaint (i.e., the only two counts in Plaintiff’s operative complaint,

see doc. 150). Any relevant subject matter would necessarily fall under the topic of

“Plaintiff’s 2017 federal lawsuit against NMT.” Topic 12 is similarly overbroad and


                                             10
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 11 of 18




vague. It concerns Plaintiff’s 2013 federal lawsuit, which was brought against NMT and

six officials of NMT and raised similar claims as in the present suit. See Quarrie v. N.M.

Inst. of Mining & Tech., Civ. No. 13‐349 MV/SMV (D.N.M. Apr. 12, 2013). Plaintiff

provides no indication of what facts from the 2013 lawsuit will form the basis of his

inquiry. Topic 12, like Topics 1 and 22, fails to provide the reasonable particularity

necessary to allow Defendant NMT to designate and prepare a suitable representative.

Defendant NMT’s motion is GRANTED as to Topics 1, 12, and 22.

       Topic 11 concerns the parties’ unsuccessful 2012 mediation, which Plaintiff

describes in his complaint. See doc. 150 at 10–11. Unlike Topics 1, 12, and 22, Topic 11

concerns a single, discrete, and evidently brief event. It is not entirely clear what facts

Plaintiff seeks to discover concerning a proceeding in which he was a party.

Nonetheless, the topic is sufficiently particular to allow Defendant NMT to designate an

appropriate representative based on who participated in the mediation. The Court

reiterates that, during the deposition, Defendant NMT may object to any questions that

seek legal opinions or information protected by attorney‐client privilege. With that

reminder, Defendant NMT’s motion is DENIED as to Topic 11.

       B. Topics 2, 13, 15, and 24

       The following topics describe legal theories that Plaintiff intends to advance in

this case:




                                             11
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 12 of 18




       2)      Previously unlitigated and undetermined issue of whether or not
       Plaintiff was afforded due process when terminated from the PhD
       program at NMT in spring of 2012.
       [. . .]
       13)     The previously unlitigated and undetermined issue of whether or
       not NMT met the conditions precedent and contractual requirements of
       the 2015 Settlement Agreement and Mutual Release between Plaintiff et
       [sic] NMT et al.
       [. . .]
       15)     The previously unlitigated and undetermined issue of whether or
       not the Settlement Agreement was void ab initio due to its violation of
       public policy by racially discriminating against Plaintiff.
       [. . .]
       24)     The spoliation of Plaintiff’s academic and administrative files at
       NMT.

Doc. 348 at 3–4. On their face, these topics appear to seek Defendant NMT’s opinion on

the viability of Plaintiff’s legal theories. Plaintiff argues that legal opinions are a proper

subject of inquiry on a 30(b)(6) deposition. Doc. 357 at 9–10. Plaintiff compares

depositions to interrogatories and quotes from this Court’s order dated December 19,

2019, in which the Court compelled a response to Plaintiff’s contention interrogatories.

See doc. 214 at 15–16.

       The Court does not agree with Plaintiff that the standard for interrogatories

applies equally to depositions. Interrogatories are typically drafted with the assistance

of counsel, while depositions require direct answers from witnesses. Funk v. Pinnacle

Health Facilities XXXII, 2019 WL 858718, at *3 (D. Kan. Feb. 22, 2019) (unpublished).

Legal opinions are generally beyond the purview of a lay witness. Schyvincht, 2019 WL

3002961, at *2. “In a nutshell, depositions, including 30(b)(6) depositions, are designed


                                              12
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 13 of 18




to discover facts, not contentions or legal theories, which, to the extent discoverable at

all prior to trial, must be discovered by other means.” JPMorgan Chase Bank, 209 F.R.D.

at 363. Consequently, the Court will not allow any inquiry into legal opinions during

the 30(b)(6) depositions.

       Although inquiries into legal opinions are not permitted, inquiries into the “facts

underlying legal claims and theories” are. Radian Asset Assurance, 273 F.R.D. at 691; see

also U.S. E.E.O.C. v. Caesars Entm’t, Inc., 237 F.R.D. 428, 434 (D. Nev. 2006). Topics 2 and

13 refer to specific factual circumstances (respectively, the process through which

Plaintiff was terminated from the PhD program and Defendant NMT’s performance of

its contractual obligations under the parties’ Settlement Agreement). Plaintiff is

permitted to inquire into the factual events underlying his legal theories on these

subjects. Topics 15 and 24, however, do not present any factual matters for inquiry.

Topic 15 addresses whether the parties’ Settlement Agreement was void ab initio on

public policy grounds. Contracts may be void on public policy grounds when “they are

clearly contrary to what the legislature or judicial decision has declared to be the public

policy, or they manifestly tend to injure the public in some way.” Mata v. Anderson, 685

F. Supp. 2d 1223, 1260–61 (D.N.M. 2010) (quoting Berlangieri v. Running Elk Corp., 48

P.3d 70, 74 (N.M. Ct. App. 2002)). Whether a contract is void as against public policy

depends on the state’s interests and not on such factual circumstances as the parties’

negotiations or performance of the contract. See Mason v. Orthodontic Ctrs. of Colo., Inc.,


                                             13
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 14 of 18




516 F. Supp. 2d 1205, 1212 (D. Colo. 2007). Because there are no factual matters to be

inquired into on this subject, Plaintiff will not be permitted to depose Defendant NMT

on Topic 15. Finally, Topic 24 states a pure legal conclusion and does not articulate any

underlying facts, thus it is beyond the permissible scope of a 30(b)(6) deposition. For

these reasons, the Court will GRANT a protective order as to Topics 15 and 24 but

DENY it as to Topics 2 and 13.

       C. Topics 3, 4, and 16

       Defendant NMT designated representatives for Topics 3, 4, and 16 but seeks a

protective order limiting the scope. Topics 3 and 4 are as follows:

       3)     Plaintiff’s NMT academic transcript.
       4)     The contents of Plaintiff’s academic and administrative files at
              NMT.

Doc. 348 at 3. Defendant NMT designated Sara Grijalva and Lorie Liebrock to speak on

these topics but asked Plaintiff to clarify the intended scope. Doc. 348‐3 at 1. Plaintiff

did not respond. In response to Defendant’s Motion, Plaintiff asserts that Ms. Grijalva

and Ms. Liebrock are inappropriate designees concerning the “current state of affairs

regarding Plaintiff’s NMT academic and/or administrative files (e.g., where certain

documents are presently located).” Doc. 357 at 13. As Plaintiff explains, Ms. Grijalva

and Ms. Liebrock are the former Registrar and Dean of Graduate Studies, respectively.

Plaintiff insists that Defendant NMT must designate the current Registrar and Dean of

Graduate Studies instead of or in addition to Ms. Grijalva and Ms. Liebrock. Id. at 15.


                                             14
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 15 of 18




        The Court cannot see the relevance of any testimony by the current Registrar and

Dean of Graduate Studies. The factual allegations in this case concern events that

happened prior to the filing of this lawsuit on March 20, 2017. See generally doc. 150.

Plaintiff’s claim for injunctive relief also relates to decisions made by officials of

Defendant NMT prior to the filing of this suit. See id. at 23. If, as the Court suspects,

Plaintiff’s purpose in inquiring into the “current state of affairs” relates to the transfer of

his termination letter to a legal file, the Court has already concluded that no further

discovery on that topic is necessary. See docs. 353, 371. Because the testimony of the

current Registrar and Dean of Graduate Studies is not relevant and/or proportional to

the needs of the case, the Court will not require Defendant NMT to make them available

for 30(b)(6) deposition. Defendant NMT’s request for a protective order limiting the

scope of Topics 3 and 4 is GRANTED. Plaintiff shall be limited to asking about the state

of his academic transcript and academic and/or administrative files through March 20,

2017.

        Topic 16 seeks information regarding “Plaintiff’s applications for readmission to

the PhD program at NMT in June, August, and December of 2016.” Doc. 348 at 4.

Defendant NMT sought clarification from Plaintiff concerning his reference to

applications in June and August 2016, stating that Plaintiff only applied for readmission

in December 2016. Doc. 348‐3 at 1. Plaintiff did not respond to Defendant NMT on this




                                              15
     Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 16 of 18




point, nor does he address it in his response.2 Unlike Topics 3 and 4, Plaintiff does not

indicate any objection to the designation of Ms. Liebrock on this topic. If Defendant

NMT has no record of a reapplication from Plaintiff in June or August of 2016, then the

designee may so state in response to any questions regarding said reapplications.

Defendant NMT’s request for a protective order preventing or limiting the scope of

Topic 16 is DENIED.

        D. Timing of the Depositions

        As to the remaining topics for the deposition, Defendant NMT has no apparent

objections and has already designated appropriate individuals. Because Plaintiff

cancelled the deposition scheduled for July 30, 2020, Defendant NMT’s grievance

concerning Plaintiff’s failure to confer on scheduling is moot. Furthermore, while the

Court acknowledges Defendant NMT’s frustration regarding Plaintiff’s refusal to

depose Mr. Wells and Ms. Liebrock on the 30(b)(6) topics during their previously

scheduled depositions, Plaintiff is correct that he has the right to depose them

separately as individuals and corporate representatives. See, e.g., In re Motor Fuel

Temperature Sales Practices Litig., 2009 WL 5064441, at *2 (D. Kan. 2009) (unpublished).

        Given that there are at least four designees, the Court will give the parties an

additional fifteen days beyond the current depositions deadline to complete the 30(b)(6)




2The Court further notes that Plaintiff describes only one reapplication (in December 2016) in his Third
Amended Complaint. See doc. 150 at 14–19.

                                                    16
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 17 of 18




depositions. The Court will also extend the dispositive motions deadline to

accommodate any motions pertaining to the 30(b)(6) depositions. To facilitate the

completion of these depositions, Defendant NMT will be required to provide Plaintiff

with the names and dates of availability for all 30(b)(6) designees within ten days of this

Order.


   IV.      CONCLUSION

         For the foregoing reasons, Defendant NMT’s Motion for Protective Order to

Plaintiff’s Notice to Take Deposition Pursuant to Fed. R. Civ. P. 30(b)(6) and Notice of

Non‐Appearance (doc. 348) is GRANTED IN PART and DENIED IN PART.

         Defendant NMT’s motion for protective order is GRANTED with respect to

Topics 1, 12, 15, 22, and 24 and GRANTED IN PART with respect to Topics 3 and 4 as

explained herein.

         The motion is DENIED as it pertains to Topics 2, 11, 13, and 16, subject to the

Court’s limitation on inquiries into legal opinions.

         Defendant NMT shall designate appropriate representatives to testify on Topics

2, 11, and 13 and provide dates of availability for all designated representatives no later

than September 14, 2020. All depositions of 30(b)(6) designees must be completed no

later than October 17, 2020, absent good cause for an additional extension. All

dispositive pretrial motions must be filed no later than November 16, 2020.




                                              17
    Case 2:17-cv-00350-MV-GBW Document 382 Filed 09/04/20 Page 18 of 18




       Finally, the Court declines to award attorney fees or other expenses to either

party. Pursuant to Fed. R. Civ. P. 37(a)(5)(C), it is within the Court’s discretion to grant

expenses when a motion is granted in part and denied in part. While Defendant NMT’s

motion was granted for more than half of the disputed topics, many of its objections

lacked merit. The parties shall bear their own costs.

       IT IS SO ORDERED.




                                                  _____________________________________
                                                  GREGORY B. WORMUTH
                                                  UNITED STATES MAGISTRATE JUDGE




                                             18
